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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)   )                                               MDL No. 2740
PRODUCTS LIABILITY LITIGATION )
                              )                                               SECTION: “N” (5)
                              )
THIS DOCUMENT RELATES TO:     )
ALL ACTIONS                   )

                              CASE MANAGEMENT ORDER NO. 12
                             (PRODUCT IDENTIFICATION ORDER)

        Amended Pretrial Order No. 22 (Rec. Doc. 325) requires each Plaintiff to submit to the

Defendants a complete and verified Plaintiff Fact Sheet (“PFS”) to be accompanied by all

responsive documents in Plaintiff’s possession within seventy-five (75) days of the date the case

is docketed in this MDL. The PFS has both questions related to the identification of the

Taxotere/docetaxel/docefrez (“docetaxel”) infused and to the production of records to identify the

manufacturer of the docetaxel infused. See Pretrial Order 18, Attachment 1 (Rec. Doc. 236-1). 1

        Recognizing the importance of determining product identification in MDL 2740, IT IS

ORDERED that:

        1.       Within fifteen (15) days of the entry of this Order, or within thirty (30) days after

filing a Short Form Complaint, each Plaintiff must make a diligent, good faith, and documented

effort to: (a) determine the facility, center, hospital, or clinic (hereinafter “infusion facility”) in

which the Plaintiff was infused with docetaxel; (b) determine the time frame Plaintiff was treated

with docetaxel at such infusion facility; and (c) request, order, and ultimately pay for medical,



1
    Pretrial Order No. 18 (Rec. Doc. 236) requires each Plaintiff’s PFS to be accompanied by any “records
    demonstrating use of Taxotere® or other docetaxel” in the Plaintiff’s possession. If the manufacturer of such
    docetaxel is unknown, the Plaintiff must certify to have made “reasonable, good faith efforts to identify the
    manufacturer of the Docetaxel used in my treatment, including requesting records from my infusion pharmacy.”
    See Pretrial Order No. 18, Attachment 1 at Part III (Rec. Doc. 236-1).

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pharmacy, billing (i.e., a patient itemized statement), and/or insurance billing records from such

infusion facility containing the National Drug Code (“NDC”) number(s) for the docetaxel Plaintiff

received, or other proof of the identity of the manufacturer of the docetaxel Plaintiff received as

provided in Paragraph 6 of this Order (“Product ID Information”). All initial requests for records

containing Product ID Information shall be in writing and accompanied by a medical authorization

signed by the Plaintiff. Plaintiff is strongly encouraged to contact the infusion facility by telephone

before sending such written request to determine where and/or to whom such written request(s)

should be sent. 2 The written request shall request production of such Product ID Information no

more than thirty (30) days after the written request. If Plaintiffs have substantially complied with

these obligations prior to the entry of this Order, they shall notify Defendants in accordance with

Paragraph 3 of this Order, within seven (7) days of entry of this Order.

        2.       If records are not received within thirty (30) days of the issuance of the written

request, Plaintiff shall make a diligent, good faith, and documented effort to follow-up with the

infusion facility in writing and/or by phone to obtain (i) Product ID Information; or (ii) written

notice that the infusion facility either does not possess Product ID Information or will not provide

Product ID Information to Plaintiff.

        3.       If Plaintiff has not received Product ID Information within thirty (30) days of the

Plaintiff’s initial written request, or if Plaintiff receives written notice from the infusion facility

that it does not possess or will not disclose Product ID Information to Plaintiff, Plaintiff shall notify

the named Defendant(s) in writing within seven (7) days, through Defense Liaison Counsel (John



2
    Plaintiffs should recognize that infusion facilities may maintain and/or store patient records in different
    departments and/or locations. For instance, medical records may be maintained in the records department while
    billing records may be maintained in the billing department.

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Olinde – 505b2liaison@chaffe.com and Douglas Moore – dmoore@irwinllc.com) and the contact

person for the Defendant(s) named and served in the lawsuit, 3 that Product ID Information has not

been received and shall provide Defendant(s) with the following information: (i) Plaintiff’s name;

(ii) Plaintiff’s MDL case number; (iii) copies of all written requests for Product ID Information

sent by Plaintiff to the infusion facility; (iv) copies of all documented responses from the infusion

facility to Plaintiff; and (v) an executed certification by Plaintiff or Plaintiff’s counsel certifying

that Plaintiff has made a diligent, good faith, and documented effort to obtain Product ID

Information.

        4.       Within fourteen (14) days of receiving notice from Plaintiff that Plaintiff has not

obtained Product ID Information, each named and served Defendant shall determine whether it

possesses Product ID Information for Plaintiff. If the named and served Defendant possesses

Product ID Information, it shall provide all parties to the action with such Product ID Information

within the fourteen (14) day period. If a named and served Defendant does not possess Product

ID Information, within twenty-one (21) days of notification to the Defendants that Plaintiff has

taken all the steps described above, the named and served Defendants shall collectively send one

letter to the infusion facility, identifying themselves as manufacturers of docetaxel and requesting

Product ID Information to be produced within fourteen (14) days of receipt of the letter. If the

infusion facility provides Product ID Information, Defendants shall provide counsel for Plaintiff

and Plaintiffs’ Liaison Counsel a copy of the response from the infusion facility within seven (7)

days of receipt of the Product ID Information.              Should the infusion facility fail to provide the

Defendants with Product ID Information within thirty (30) days of Defendants’ letter to the



3
    The name and email address of the contact person for each Defendant are listed in Exhibit A attached hereto.

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infusion facility, Defendants shall provide counsel for Plaintiff a copy of the request letter to, and

any responses from, the infusion facility.

        5.        Within seven (7) days of Plaintiff receiving notice that named Defendant(s) do not

possess Product ID Information after Defendants have taken the steps set forth in the preceding

paragraph, Plaintiff shall issue a subpoena requiring the infusion facility to release Product ID

Information within fourteen (14) days. Plaintiff shall provide a copy of the subpoena pursuant to

FRCP 45, through Defense Liaison Counsel (John Olinde – 505b2liaison@chaffe.com and

Douglas Moore – dmoore@irwinllc.com) and the contact person for the Defendant(s) named and

served in the lawsuit. 4 If the infusion facility fails to comply with the subpoena, the Court shall

take appropriate action.

        6.        The following information is presumed sufficient evidence to establish the identity

of the manufacturer(s) or labeler of docetaxel in this MDL:

             a.       National Drug Code ( “NDC”) numbers contained in a patient’s medical,

                      pharmacy, billing or insurance records; or

             b.       A Certificate of Authenticity of Product Identification Administered

                      (“Certification”) identifying the manufacturer(s) or labeler for Plaintiff and the

                      correct dates of treatment, signed by an authorized person on behalf of the

                      patient’s infusion pharmacy, treatment facility, or other authorized health care

                      professional. Such Certification need not be notarized and can be in the form

                      of the Certification attached hereto as Exhibit B.




4
    The name and email address of the contact person for each Defendant are listed in Exhibit A attached hereto.

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               c.       Medical and/or billing records showing that docetaxel was administered prior

                        to March 8, 2011, is evidence that the docetaxel was manufactured by sanofi.

         7.         If Plaintiff obtains Product ID Information, Plaintiff shall upload such evidence to

MDL Centrality within seven (7) days of receipt of such evidence. Plaintiff shall submit such

evidence under the “Product Identification” document type field.

         8.         Where Product ID Information exists, Defendants in MDL 2740 will not dispute

such evidence without offering testimonial or documentary evidence to rebut the presumption. If

any party obtains contrary testimonial or documentary evidence regarding Product ID Information,

it shall notify counsel for all named parties of the existence of such evidence within seven (7) days

of its discovery. If such evidence is not produced by the close of discovery once a case is identified

in a trial scheduling order, the existing Product ID Information will be deemed affirmative

evidence of the identity of the manufacturer or labeler of a plaintiff’s docetaxel, absent good cause

shown.

         9.         Within fourteen (14) days of the date Plaintiff uploads the Product ID Information

to MDL Centrality, Plaintiff shall voluntarily dismiss any and all named Defendants not identified

by the Product ID Information.

         10.        If Plaintiff fails to voluntarily dismiss any Defendant not identified by the Product

ID Information within fourteen (14) days of the date Plaintiff uploads such evidence to MDL

Centrality, such Defendant may place the issue on the Agenda for the next Status Conference. No

briefing is required. Twenty-one (21) days prior to the next Status Conference, Defense Liaison

Counsel shall identify to Plaintiffs’ Liaison Counsel the cases Defendants intend to place on the

Agenda for the next Status Conference pursuant to this Order. Any case naming Defendants

without proper Product ID Information at the time of that Status Conference will be subject to an

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Order to Show Cause, returnable at the following Status Conference, which will require Plaintiff

to show cause why her claims against said Defendant (s) should not be dismissed.

       11.     Any Plaintiff who has served a PFS as of the date of this Order and fails to comply

with the requirements of Paragraphs 1-3 within forty-five (45) days of this Order, or fails to comply

with the requirements of Paragraph 5, shall be subject to dismissal upon motion by Defendants,

absent good cause shown. For all other Plaintiffs, failure to comply with Paragraphs 1-3 of this

Order within the time permitted to serve a PFS under Amended Pretrial Order No. 22 (Rec. Doc.

325), or failure to comply with the requirements of Paragraph 5 of this Order, shall subject such

Plaintiff to dismissal upon motion by Defendants, absent good cause shown.

       12.     Any Plaintiff who lacks Product ID Information after complying with Paragraphs

1-5 of this Order shall be authorized to conduct discovery to the relevant infusion facility,

distributor, and healthcare providers, limited in scope solely to determine Product ID Information,

for a period of no more than seventy-five (75) days from the issuance date on the subpoena issued

pursuant to Paragraph 5 of this Order, regardless of whether a response is provided by the infusion

facility. If Product ID Information is not determined following the 75-day period set forth above,

Plaintiff’s case may be subject to dismissal upon motion by any named Defendant.

       New Orleans, Louisiana, this 12th day of January 2018.



                                                      ________________________________
                                                      KURT D. ENGELHARDT
                                                      UNITED STATES DISTRICT JUDGE




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                                    EXHIBIT A


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        STATEMENT REGARDING CHEMOTHERAPY DRUG ADMINISTERED
PATIENT NAME:

DATE OF BIRTH:         /       /                                             SSN:        /       /


       TO BE COMPLETED BY REPRESENTATIVE OF ONCOLOGIST/INFUSION CENTER

       ***PLEASE MARK THE NDC FOR THE TAXOTERE/DOCETAXEL ADMINISTERED ***

SANOFI AVENTIS US LLC                        ACCORD                           DR REDDYS LAB LTD.
   □ 0075-8003-01                       HEALTHCARE, INC.                          □ 43598-258-11
   □ 0075-8004-04                         □ 16729-120-49 KIT                      □ 43598-259-40
                                          □ 16729-228-50 KIT
SANOFI AVENTIS US LLC                     □ 16729-267-63                      TEVA PHARMS USA
d/b/a WINTHROP US                         □ 16729-267-64                          □ 0703-5720-01
   □ 0955-1020-01                         □ 16729-267-65                          □ 0703-5730-01
   □ 0955-1021-04
                                      SAGENT PHARMACEUTICALS                  NORTHSTAR RX LLC
HOSPIRA, INC.                             □ 25021-222-01                         □ 16714-465-01
  □ 0409-0201-02                          □ 25021-222-04                         □ 16714-500-01
  □ 0409-0201-10                          □ 25021-222-07
  □ 0409-0201-20                                                              EAGLE PHARMACEUTICALS
  □ 0409-0201-25                      PFIZER LABORATORIES                         □ 42367-121-25
  □ 0409-0201-26                          □ 0069-9141-11                          □ 42367-121-29
  □ 0409-0201-27                          □ 0069-9141-22
                                          □ 0069-9142-11                      SUN PHARMACEUTICAL
McKESSON PACKAGING                        □ 0069-9142-22                      INDUSTRIES, INC.
SERVICES                                  □ 0069-9144-11                          □ 47335-285-41
   □ 63739-932-11                                                                 □ 47335-286-41
   □ 63739-971-17                     ACTAVIS PHARMA, INC.
                                          □ 45963-734-54                      □ PATIENT WAS NOT
SANDOZ INC.                               □ 45963-765-52                      ADMINISTERED
   □ 66758-050-01                         □ 45963-781-74                      TAXOTERE/DOCETAXEL
   □ 66758-050-02                         □ 45963-790-56
   □ 66758-050-03                                                             PATIENT
   □ 66758-950-02                                                             □ WAS / □ WAS NOT
   □ 66758-950-03                                                             ADMINISTERED
   □ 66758-950-04                                                             TAXOL/PACLITAXEL



__________ /_________ / __________      __________ /_________ / __________          ______________
   DATE OF FIRST TREATMENT                  DATE OF LAST TREATMENT                  # OF DOSES


__________________________________________________      __________________________________________________
SIGNATURE OF REPRESENATIVE OF                           NAME OF PRACTICE/INFUSION CENTER
PRACTICE/INFUSION CENTER
__________________________________________________      __________________________________________________
PRINTED NAME & TITLE OF REPRESENTATIVE                  ADDRESS


__________________________________________________      __________________________________________________
DATE                                                    CITY, STATE, ZIP
